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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA
                                   RICHMOND DIVISION

JOHN COREY FRASER, on behalf of himself   )
and all others similarly situated as a Class,
                                          )
                                          )
                  Plaintiff,              )
                                          )
      v.                                  )                 Civil Action No. 3:22CV00410
                                          )
BUREAU OF ALCOHOL, TOBACCO,               )
FIREARMS, AND EXPLOSIVES, et al.,         )
                                          )
                  Defendants.             )
__________________________________________)


                                       MOTION TO DISMISS

       Pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6), Defendants, the Bureau of Alcohol, Tobacco,

Firearms, and Explosives (ATF); Steven Dettelbach, in his official capacity as the Director of ATF1; and

Merrick Garland, in his official capacity as Attorney General of the United States respectfully move this

Court to dismiss Plaintiff’s Complaint for lack of subject matter jurisdiction and for failure to state a

claim on which relief can be granted. In accordance with the Court’s Local Rules, this motion is

accompanied by a memorandum in support of the motion and citations of the authorities on which

Defendants rely.




1
 Pursuant to Federal Rule of Civil Procedure 25, Director Dettelbach is automatically substituted as a
defendant in this matter.

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Dated: November 8, 2022


                                   Respectfully submitted,

                                   JESSICA D. ABER
                                   UNITED STATES ATTORNEY

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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 8th day of November, 2022, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will send a notification of

such filing (NEF) to the following:

                              Elliott Harding, Esquire
                              Harding Counsel, PLLC
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                                                     /s/ Jonathan H. Hambrick
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